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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION


 MOVADO GROUP, INC. AND
 MOVADO LLC,

                Plaintiffs,

 v.                                                    CIVIL ACTION NO. 1:19-cv-03544

                                                       District Judge Ronald A. Guzman
 Aaawatch007, et al.,                                  Magistrate Judge Jeffrey Cummings

                Defendants.

                                    NOTICE OF DISMISSAL
        Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), Plaintiffs dismiss this action as

to the following Defendants:


               Defendant’s Name                                  Line of Schedule A


 Curren Watch Store                                                       61


 Discount_Watches Store                                                   70


 Sinobi Official Store                                                    59



These Defendants have neither served an answer or a motion for summary judgment.




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Dated: September 24, 2019


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                                         AND MOVADO LLC




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